           Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 1 of 11


From:         Smith, Bailey A. 1/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
              (FYDI BO HF23SPDLT)/CN=RECI Pl ENTS/CN=A165A 7316F1E4AC6B83BF7DB72C82B71 -SM 1TH, BAIL]
Sent:         8/4/2022 12:53:08 PM
To:           _Press (_Press@eog.myflorida.com]
Subject:      Media Inquires
Attachments : Untitled Attachment; How long is the suspension; Fw: Governor Ron Desantis Suspends State Attorney Andrew
              Warren for Refusing to Enforce Florida Law; Request for comment; A/C in prisons and visitation r ights; NewsNation
              media request; FW: Request for comment re: SAOs and Fair and Just Prosecution letters



Getting a few requests like thi s -


The Governor said that you looked at the prosecution records of various state attorneys and determined that
Warren wasn't following the law and not prosecuting cases has he should be.

Can you provide us with that data?

Also one that can probably go to DOC.




                                                                                                                          4:22-cv-302-RH-MAF

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         Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 2 of 11


From :       Gail Levy [gail.levy@winknews.com]
Sent :       8/4/2022 11:14:33 AM
To:          M edia [M edia@eog.myflorida.com]



Good morning,

I was following up on Gov. Desantis' press conference about suspending State Attorney And rew Wa rren .

I know he mentioned he did a review over the whole state, I wanted to see how our local districts, the 12th
and 20th Judicial Circuits did in this review.

Is there a ranking system or percentage to show how well they did ? That information would be wonderful.

Thank you,




GAIL LEVY I VIDEO JO URNALIST    I gail.levy@winknews.com




                                                                                                      DEF 000803


                                                                                                        PEX 56.002
            Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 3 of 11


From:            Kimberly Leonard [kleonard@insider.com]
Sent:            8/4/2022 11:02:11 AM
To:              Media [Media@eog.myf lorida.com]; Pushaw, Christina [Christina.Pushaw@eog.myflorida.com]
Subject:         How long is the suspension



Good morning,

 Could I have more details about the suspension of Warren? How long does it last? Is it paid or unpaid? Is there
a way for him to be reinstated earlier - is there something he'd have to say or do?

Thanks so much,


Kimberly Leonard
Policy & Politics Correspondent


INSID ER
Business •· News •· Life
W: 646-376-6078
One Uberty Plaza, 8th FL. New York, NY 10006

Read my reporting for Insider.




                                                                                                            DEF 000804


                                                                                                            PEX 56.003
            Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 4 of 11


From :         vbench imol [vbenchimo l@wfts.com]
Sent:          8/4/2022 10:38:23 AM
To :           communications [communications@eog.myflorida.com]
CC:            O'Connell, Mary [Mary.OConnell@WFTS.COM]
Subject :      Fw: Governor Ron Desantis Suspends State Attorney Andrew Warren for Refusing to Enforce Florida Law



The Governor said that you looked at the pro secution records of va rious state attorneys a nd dete rmined that
Warren was n't following the law and not prosecuting cases has he shou ld be.

Ca n you provide us with t hat data?


Vicky Benchimol
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From: Governor's Press Office <Governor'sPressOffice@eog.myflorida.com>
Sent: Thursday, August 4, 2022 10:17
To: Benchimol, Victoria <vbenchimol@wfts.com>
Subject: Governor Ron Desant is Suspends State Attorney Andrew Warren for Refusing to Enforce Florida Law



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 For Immediate Release: August 4, 2022

 Contact: Governor's Press Office, (850) 717-9282, G.,~lTLmicafor:s14leoc. ,nvfonda .corn



      Governor Ron Desantis Suspends State
  Attorney Andrew Warren for Refusing to Enforce
                   Florida Law
  Governor Desantis appoints current Hillsborough County Judge Susan Lopez
          to serve as Acting State Attorney of the 13th Judicial Circuit


  TAMPA, Fla.- Today, Governor Ron Desantis suspended State Attorney
  Andrew Warren of the 13th Judicial Circuit due to neglect of duty. The Governor
  has the authority to suspend a state officer under Article IV, Section 7 of the
  Constitution of the State of Florida. The Governor has appointed Susan Lopez
  to serve as State Attorney for the period of suspension. She has most recently
  been serving as a Judge on the Hillsborough County Court. To view the order
  suspending Andrew Warren and appointing Susan Lopez, click t9J.Q
  jte2rna,ne;1
  "State Attorneys have a duty to prosecute crimes as defined in Florida law, not
  to pick and choose which laws to enforce based on his personal agenda," said
  Governor Ron Desantis . "It is my duty to hold Florida's elected officials to the
  highest standards for the people of Florida. I have the utmost trust that Judge
  Susan Lopez will lead the office through this transition and faithfully uphold the
  rule of law."
  "I have the utmost respect for our state laws and I understand the important
  role that the State Attorney plays in ensuring the safety of our community and
  the enforcement of our laws," said Susan Lopez, State Attorney of the 13th
  Judicial Circuit. "I want to thank the Governor for placing his trust in me, and I
  promise that I will faithfully execute the duties of this office."
  The Governor has the authority under the Florida Constitution to suspend state
  officials for reasons of misfeasance, malfeasance, neglect of duty,
  drunkenness, incompetence, permanent inability to perform official duties, or




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           Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 6 of 11



                commission of a felony. The Governor has further authority to fill that office by
                appointment for the duration of the suspension .
                  Susan Lopez was appointed by Governor DeSantis to serve as a judge on the
                  Hillsborough County Court in 2021 . She previously served as Assistant State
                  Attorney of the 13th Judicial Circuit for more than 15 years and as Staff
                  Attorney of the Second District Court of Appeal. She received her bachelor's
                  degree from Middlebury College and her law degree from Suffolk University.
                  She is a long-time resident of Tampa and has been involved in the
                  Hillsborough community through a variety of organizations for many years.




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           Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 7 of 11


From:        Sarah Weaver [sarahweaver@dailyca ller.com]
Sent:        8/4/2022 10:37:08 AM
To:          Media [Media@eog.myflorida.com]
Subject:     Request for comment



Good morning,

Can Gov. DeSantis provide comment on the recent suspension of State Attorney Andrew Warren? Specifically,
how long will Warren be suspended?

Thanks!

Sarah Weaver
Staff Writer I The Daily Caller
(937) 681-9247 I sarahweaver@dailycaller.co m




                                                                                                  DEF 000808


                                                                                                   PEX 56.007
            Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 8 of 11


From :         Rabines, Amanda [arabines@orlandosentinel.com]
Sent:          8/4/2022 8:00:00 AM
To :           Media [Media@eog.myflorida.com]
Subject :      A/C in prisons and visitation rights



Hello, I'm a reporter with the Orlando Sentinel.

Some correctional officers and family members of prisoners say the heat inside is intolerable.

May the governor comment on these conditions? Is it something he wishes to alleviate? Does he see any
solutions for this in the future? If so, what would those efforts look like? Have portable cooling systems been
discussed?

There's also discussions of potential rule changes that could restrict visitation rotation schedules, which would
limit visitation days to every other weekend at certain correctional institutions deemed necessary by the
department.

The family members of behaving prisoners are worried the bad actors could ruin the chances of them seeing
their loved ones and incite more hostility within the facilities.

Any comments on the proposed visitation rule changes? Does he believe that it could do more good than harm?

There's a big interest in knowing how the governor views these issues.
Let me know if the governor wishes to respond.

Amanda


Amanda Rabines
Justice & Safety Reporter
Orlando Sentinel Media Group
P.O. Box 2833 I Orlando I Florida 132802


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             Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 9 of 11


From:              Lauren Powell [LPowell@newsnationnow.com]
Sent:              8/4/2022 12:07:37 PM
To:                Griffin, Bryan [Bryan.Griffin@eog.myflorida.com]; Media [Media@eog.myflorida.com]; Brooke Shafer
                   [BShafer@newsnationnow.com]
Subject:           NewsNation media request



Good afternoon Bryan-

We are working on a story about the Governor's announcement this morning. Does he have any availability for a zoom
interview with us to expand on the decision to suspend Warren?

Or does he have a statement to provide to News Nation?

Here are some of the questions we are looking to answer:

-Today is the first day of CPAC in Dallas. Is the timing of this announcement in any way connected to CPAC beginning?
-Is the GOP looking to expand these types of decisions across the country?

Please let us know if he has any availability and we will coo rdinate on our end. The zoom interview would only take
about 10 minutes.

Thank you-
Lauren




~uten A Powell
NewsNatlon
Nlfion,I A~/4 Pto</uc~,.
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LPowell@newsnationnow.com
www.newsna:tionnow.com




       MORNING            !'flJSH      ON BALAtiCE   NEWSNATION     PAN ABRAMS       BANflftO     NEWSNATiON
      IN AMERICA          HOUR                          PRIME          LIVE                      PRIME WEEKEND




                                                                                                                      DEF 000810


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          Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 10 of 11


From :        comm unications [communications@eog.myflorida .com]
Sent:         8/4/2022 12:14:26 PM
To:           Media_Forward [Media_Forward@eog.myflorida.com]
Subject:      FW : Request for comment re: SAOs and Fair and Just Prosecution letters
Attachments : Request for comment re: SAOs and Fair and Just Prosecution letters




                                                                                        DEF 000811

                                                                                         PEX 56.010
              Case 4:22-cv-00302-RH-MAF Document 135-21 Filed 11/29/22 Page 11 of 11


From :                 Samuel Sachs [SSachs@w fla .com]
Sent:                  8/ 4/2022 12:14:18 PM
To:                    Griffi n, Bryan [Bryan .Griffi n@eog.myflorida.com]; Pushaw, Christina [Christina.Pushaw@eog.myflorida.com]; Media
                       [M edia@eog. myflorida.com]
Subject:               Request for comment re: SAOs and Fai r and Just Prosecution letters



Good afternoon,

Now that SAO13 Andrew Warren has been suspended, will t he governor be ta king additional action to
suspend other state attorneys with similar pledges?

In one of the two letters provided by the Governor's Office in the order suspending Attorney Wa rren, t he 9th
Judicial Circuit SAO Monique Worrell . While Attorney Worrell did not sign off on t he pledge regarding abortion
procedures, she did include her name in the statement about gender-affirming ca re.

To that point, WFLA would li ke to know if there 's a possibilit y Gov. Desantis w ill be ta king similar actions in the
9th Circuit State Attorney's Office.

Thank you,

Sam Sachs

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